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          APPALACHIAN VOICES, ET AL v. EPA, ET AL
                         1:25-CV-01982-PLF




                         EXHIBIT 11

             Declaration of Toby Merrill

                  Public Rights Project
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 APPALACHIAN VOICES, et al., on behalf
 of themselves and those similarly situated,
                                Plaintiffs,
 v.
                                                            Case No. 1:25-cv-01982-PLF
 UNITED STATES ENVIRONMENTAL
                                                            (Class Action)
 PROTECTION AGENCY, et al.,
                                Defendants.


            DECLARATION OF TOBY MERILL IN SUPPORT OF PLAINTIFFS’
                     MOTION FOR CLASS CERTIFICATION
       I, Toby Merrill, hereby declare under penalty of perjury that the following is true and

correct:

       1.      I am the Litigation Director of the Public Rights Project (“PRP”). I am one of the

attorneys for the named Plaintiffs and the putative class members in this case. I submit this

declaration in support of the motion for class certification.

       2.      I was first licensed as an attorney in 2012 and have continuously practiced law since

then. Prior to joining PRP in 2025, I worked at the U.S. Department of Education Office of General

Counsel as Principal Deputy General Counsel and, before that, as Deputy General Counsel for

Postsecondary Education. A significant part of those roles was working with the Department of

Justice to represent the agency in complex litigation matters.

       3.      Before joining the Department of Education, I founded and directed the Project on

Predatory Student Lending, which was a part of the Legal Services Center of Harvard Law School

at the time. In that role, I was counsel of record in several complex and class action federal lawsuits

on behalf of plaintiffs seeking declaratory and injunctive relief in federal courts, including but not

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limited to: a class action on behalf of 7,200 people cheated by Corinthian Colleges, Inc.’s two

campuses in Massachusetts, resulting in the first court-ordered “borrower defense discharge” and

full loan relief for the entire class, Vara v. DeVos, 19-cv-12175 (D. Mass. filed Oct. 22, 2019); a

class action on behalf of tens of thousands of former students of the predatory Corinthian Colleges,

Inc. chain, successfully challenging a federal policy of misusing federal data to deny loan relief to

these borrowers, Calvillo Manriquez v. DeVos, 17-cv-07210 (N.D. Cal. filed Dec. 20, 2017); a

class action that reversed an agency policy and eventually resulted in approximately $6 billion in

relief for more that 270,000 student loan borrowers by a settlement reached after I withdrew as

counsel to begin a new position, Sweet v. Cardona, No. 19-cv-03674 (N.D. Cal. filed June 25,

2019); and a class action on behalf of approximately 750,000 former ITT Technical Institute

students in the corporation’s Chapter 7 bankruptcy proceeding, securing millions of dollars of

private student loan relief as well as a distribution to former students, Villalba v. ITT, No. 16-

07207 (S.D. Ind. Bry. filed Jan. 3, 2017).

       4.      PRP’s mission is to help local governments and local officials fight for civil rights.

It has significant expertise in representing local governments and has developed a docket of federal

litigation on behalf of local governments across the country. PRP has experience bringing complex

litigation in federal courts, including on behalf of large groups of local governments. See, e.g.,

King County v. Trump, 25-cv-00814 (W.D. Wa. filed May 2, 2025) (thirty-one local government

plaintiffs challenging unlawful funding conditions imposed by the Department of Housing and

Urban Development and the Department of Transportation); San Francisco v. Trump, 25-cv-01350

(N.D. Cal. filed Feb. 7, 2025) (sixteen local government plaintiffs challenging unlawful executive

orders and memoranda threatening to terminate federal funding based on alleged “sanctuary city”

status). PRP has numerous other federal court cases related to federal funding to local



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governments, including the source of federal funding at issue in this case. See Sustainability Inst.

v. Trump, 25-cv-02152 (D.S.C. filed Mar. 19, 2025).

       5.      PRP has assigned three qualified attorneys to litigate this case: myself, Elaine Poon,

and Graham Provost.

       6.      Ms. Poon is a Senior Staff Attorney at PRP, where she has worked since August

2024. Ms. Poon was first licensed as an attorney in 2008 and has continuously practiced law since

that time. Prior to joining PRP, she was the Co-Deputy Director of Advocacy of the Legal Aid

Justice Center in Virginia, where she oversaw all of the organization’s advocacy, including

litigation. She has worked on cases where a class was proposed and the case was resolved without

class certification, including: a challenge to a Virginia vagrancy law on behalf of a class of

unhoused individuals suffering from alcohol addiction who had been repeatedly prosecuted and

incarcerated, resulting in the Fourth Circuit striking down the statute as unconstitutional, see

Manning v. Caldwell, 930 F.3d 264 (4th Cir. 2018); and a Fair Debt Collection Practices Act

challenge on behalf of a proposed class of tenants to a law firm’s practice of sending out notices

of eviction on behalf of landlords, see Crawford et. al. v. Senex Law, 259 F.Supp.3d 464 (W.D.

Va. 2017).

       7.      Mr. Provost is a Staff Attorney at PRP, where he has worked since February, 2024.

Mr. Provost was first licensed to practice law in 2021. At PRP, he has litigated complex federal

cases including Sustainability Institute. He previously clerked on the U.S. District Court for the

Northern District of New York and the Ninth Circuit Court of Appeals.

       8.      In bringing this action, PRP is co-counseling with experienced attorneys from the

Southern Environmental Law Center, Earthjustice, and Lawyers for Good Government. In

partnership with co-counsel from these organizations, PRP has dedicated significant time and



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effort investigating this case to understand the operation of the impacted grant programs and their

importance to impacted communities. In addition to direct engagement with our clients in this case,

PRP’s legal team has developed a full understanding of the legal and factual context of the actions

at issue here by litigating and conducting extensive discovery in Sustainability Institute.

        9.      PRP is prepared to contribute significant pro bono resources to represent the class

in this case.



        I declare under penalty of perjury that the foregoing is true and correct. Executed on June

26, 2025.




                                                      TOBY MERRILL
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